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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                        LYNCHBURG DIVISION

LES CHRISTOPHER BURNS,                          )
                                                )
                  Plaintiff,                    )      Case No. 6:18CV73
                                                )
v.                                              )      ORDER CLOSING CASE
                                                )
CHRISTOPHER LEE COOK,                           )      By: James P. Jones
                                                )      United States District Judge
                  Defendant.                    )


      The court having been advised that a settlement has been reached, the case is

hereby administratively closed. The court retains jurisdiction for sixty (60) days. If

desired, the parties may hereafter within such time submit an agreed stipulation,

final order or judgment. If no such agreed stipulation, final order or judgment is

timely submitted, and if no party files a motion to reopen the case or to enforce the

terms of the settlement within such time, this action shall, without further order,

stand dismissed with prejudice.

      It is so ORDERED.



                                              ENTER: October 22, 2019

                                              /s/ James P. Jones
                                              United States District Judge
